Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 1 of 31




                     EXHIBIT A
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 2 of 31




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



MERCK & CO., INC.,

            Plaintiff,                     Civil Action No. 23-cv-1615-CKK

            v.

XAVIER BECERRA, U.S. Secretary of
Health & Human Services, et al.,

            Defendants.



     BRIEF OF AMICI CURIAE PUBLIC CITIZEN, PATIENTS FOR
 AFFORDABLE DRUGS NOW, DOCTORS FOR AMERICA, PROTECT OUR
     CARE, AND FAMILIES USA IN SUPPORT OF DEFENDANTS’
  OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                     AND CROSS-MOTION




                                       Wendy Liu
                                       Nandan M. Joshi
                                       Allison M. Zieve
                                       Public Citizen Litigation Group
                                       1600 20th Street NW
                                       Washington, DC 20009
                                       (202) 588-1000

                                       Attorneys for Amici Curiae Public Citizen,
                                       et al.

September 13, 2023
          Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 3 of 31




                                             TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................... ii

INTEREST OF AMICI CURIAE ................................................................................... 1

INTRODUCTION .......................................................................................................... 1

ARGUMENT .................................................................................................................. 3

   I.   The high cost of prescription drugs harms patients’ health and quality
        of life. .................................................................................................................... 3

   II. Prices negotiated under the IRA Program do not result in an
       unconstitutional taking. ...................................................................................... 8

         A. Drug companies set prices for brand-name prescription drugs under
            monopolistic conditions. ................................................................................ 9

         B. A company’s preferred price of a brand-name prescription drug is not
            necessarily a “fair” price. ............................................................................. 15

         C. Outside of Medicare, drug companies negotiate prices and charge
            different prices to different buyers. ............................................................ 18

CONCLUSION............................................................................................................. 24




                                                                  i
          Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 4 of 31




                                         TABLE OF AUTHORITIES

Cases                                                                                                              Page(s)

BFP v. Resolution Trust Corp.,
 511 U.S. 531 (1994) ............................................................................................. 11, 12


Statutes

21 U.S.C. § 355 ............................................................................................................. 11

35 U.S.C. §§ 101–103 ................................................................................................... 10

35 U.S.C. § 154 ............................................................................................................. 10

38 U.S.C. § 8126 ........................................................................................................... 20

42 U.S.C. § 262 ............................................................................................................. 11

42 U.S.C. § 1320f.......................................................................................................... 15

42 U.S.C. § 1320f-1 ...................................................................................................... 15

42 U.S.C. § 1395w-3a ..................................................................................................... 4

42 U.S.C. § 1395w-104 ................................................................................................. 13

42 U.S.C. § 1395w-111 ................................................................................................... 5

42 U.S.C. § 1396r-8 ................................................................................................ 13, 20

Inflation Reduction Act,
  Pub. L. No. 117-169, 136 Stat. 1818 (2022) ............................................................... 1

Medicare Prescription Drug, Improvement, and Modernization Act,
 Pub. L. No. 108-173, 117 Stat. 2066 (2003) ............................................................... 4


Regulations

42 C.F.R. § 423.120 ...................................................................................................... 13

48 C.F.R. § 15.405 .......................................................................................................... 9




                                                               ii
         Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 5 of 31




Other Authorities

Andrea Baer, Why are seniors struggling to afford their medications?,
 Pan Foundation (July 2, 2019) ................................................................................... 8

Black’s Law Dictionary (11th ed. 2019) ................................................................. 11,12

Bureau of Labor Statistics, CPI for All Urban Consumers (CPI-U),
 12-Month Percentage Change ................................................................................... 18

Centers for Medicare and Medicaid Services (CMS), No. 11315-P,
 Drug coverage under different parts of Medicare (2023) ........................................... 3

CMS, Medicare Drug Price Negotiation Program: Revised Guidance,
 Implementation of Sections 1191 – 1198 of the Social Security Act for
 Initial Price Applicability Year 2026 (2023) ..................................................... 15, 18

CMS, Medicare Fee-for-Service Payment Regulations................................................ 20

Congressional Budget Office (CBO), A Comparison of Brand-Name Drug Prices
  Among Selected Federal Programs (2021) .............................................................. 21

CBO, Research and Development in the Pharmaceutical Industry (2021) ................ 15

Congressional Research Service (CRS), R44832, Frequently Asked Questions
  About Prescription Drug Pricing and Policy (2021), ................................................ 5

CRS, R46797, Finding Medicare Fee-For-Service (FFS) Payment System Rules:
 Schedules and Resources (2023) ............................................................................... 20

Council for Informed Drug Spending Analysis, High Drug Prices and Patient
 Costs: Millions of Lives and Billions of Dollars Lost (Nov. 18, 2020). ...................... 6

Lisa Diependaele et al., Raising the Barriers to Access to Medicines in the
  Developing World – The Relentless Push for Data Exclusivity,
  17 Developing World Bioethics, no. 1, 2017............................................................. 14

Stacie B. Dusetzina et al., Cost-Related Medication Nonadherence and Desire
  for Medication Cost Information Among Adults Aged 65 Years and Older in
  the US in 2022, JAMA Network (May 18, 2023). ..................................................... 6

Food and Drug Administration,
 Frequently Asked Questions on Patents and Exclusivity ................................... 10, 11

Richard G. Frank & Paul B. Ginsburg, Pharmaceutical Industry Profits and
  Research and Development, Health Affairs Blog (Nov. 13, 2017) .......................... 12


                                                        iii
          Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 6 of 31




Kathleen Gifford et al., Kaiser Family Found., How State Medicaid Programs are
  Managing Prescription Drug Costs: Results from a State Medicaid Pharmacy
  Survey for State Fiscal Years 2019 and 2020 (April 29, 2020) ........................ 20, 21

Government Accountability Office (GAO), GAO-21-111, Prescription
  Drugs: Department of Veteran Affairs Paid About Half as Much as Medicare
  Part D for Selected Drugs in 2017 (2020) .............................................................. 19

GAO, GAO-21-282, Prescription Drugs: U.S. Prices for Selected Brand Drugs Were
  Higher on Average than Prices in Australia, Canada, and France (2021) ...... 21, 22

Health Affairs, Prescription Drug Pricing: Veterans Health
  Administration (2017) ............................................................................................. 19

Health and Human Services (HHS), Prescription Drugs: Innovation,
  Spending, and Patient Access (2016). ............................................................... 10, 15

HHS, No. 04-008, Determinants of Increases in Medicare Expenditures for
 Physicians’ Services (2003) ...................................................................................... 20

HHS, HHS Selects the First Drugs for Medicare Drug Price Negotiation
  (Aug. 29, 2023) ........................................................................................................ 22

Inmaculada Hernandez et al., Changes in List Prices, Net Prices,
  and Discounts for Branded Drugs in the US, 2007-2018,
  323 JAMA, no. 9, 2020 ............................................................................................. 17

House of Representatives Committee on Ways & Means, A Painful Pill to Swallow:
 U.S. vs. International Prescription Drug Prices (2019) ........................................... 22

Institute for Clinical and Economic Review, Unsupported Price Increase Report:
  Unsupported Price Increases Occurring in 2021 (2022) ................................... 16, 17

Aaron S. Kesselheim et al., The High Cost of Prescription Drugs in the United
  States: Origins and Prospects for Reform, 316 JAMA, no. 8, 2016 ............ 14, 15, 16

Aaron S. Kesselheim et. al., Pharmaceutical Policy in the United States in
  2019: An Overview of the Landscape and Avenues for Improvement,
  30 Stan. L. & Pol’y Rev. 421 (2019)................................................................... 10, 14

Ashley Kirzinger et al., Data Note: Prescription Drugs and Older Adults, Kaiser
  Family Found. (Aug. 9, 2019) .................................................................................... 5

Ashley Kirzinger et al., KFF Health Tracking Poll – February 2019: Prescription
  Drugs, Kaiser Family Found. (March 1, 2019) ......................................................... 4



                                                             iv
         Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 7 of 31




Berkeley Lovelace, Jr., 1 in 5 older adults skipped or delayed medications last
  year because of cost, NBC News (May 18, 2023)....................................................... 6

Chris Melore, Healthcare hell: 1 in 5 seniors skip paying rent, buying groceries to
  afford their cocktail of prescription meds, StudyFinds (Nov. 15, 2022) .................. 7

Andrew W. Mulachy et al., International Prescription Drug Price Comparisons:
  Current Empirical Estimates and Comparisons with Previous Studies,
  RAND Research Report (2021)................................................................................ 21

Anthony W. Olson et al.,
 Financial hardship from purchasing prescription drugs among older adults in the
 United States before, during, and after the Medicare Part D “Donut Hole”:
 Findings from 1998, 2001, 2015, and 2021,
 28 J. Managed Care & Specialty Pharm. (May 2022) ............................................... 5

Protect Our Care, Why Medicare Needs the Power to Negotiate for Lower Drug Costs:
 Outrageous Prices, Greed, and Patent Exploitation (June 2023) ...................... 22, 23

S. Vincent Rajkumar, The high cost of prescription drugs: causes
   and solutions, 10 Blood Cancer Journal, no. 71, 2020 ........................................... 12

Christine Ramsay & Reginald D. Williams II, Medicare Patients Pay More for
 Drugs Than Older Adults in Other Countries; Congress Has an Opportunity
 to Move Forward, The Commonwealth Fund (Sept. 30, 2021) ................................. 7

Benjamin N. Rome et al., Simulated Medicare Drug Price Negotiation Under
 the Inflation Reduction Act of 2022, JAMA Health Forum (2023) ........................... 3

Benjamin N. Rome et al., Trends in Prescription Drug Launch Prices, 2008–2021,
 327 JAMA, no. 21, 2022 ............................................................................................ 17

Rachel E. Sachs, Delinking Reimbursement,
 102 Minn. L. Rev. 2307 (2018) ........................................................................... 13, 21

Matt Sedensky & Carla K. Johnson, Deal on Capitol Hill could ease seniors’ health
 costs, Associated Press, July 28, 2022........................................................................ 7

Wafa Tarazi et al., HHS, Prescription Drug Affordability among Medicare
 Beneficiaries (Jan. 2022)............................................................................................. 6

Nancy L. Yu et al., R&D Costs for Pharmaceutical Companies Do Not Explain
 Elevated US Drug Prices, Health Affairs Blog (Mar. 7, 2017) ................................ 16




                                                           v
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 8 of 31




                         INTEREST OF AMICI CURIAE

      As detailed in the accompanying motion to file this brief, amici curiae Public

Citizen, Patients for Affordable Drugs Now, Doctors for America, Protect Our Care,

and Families USA are non-profit organizations with expertise and longstanding

interests in expanding patient access to health care. Amici share an interest in the

promotion and implementation of policies that make access to medications more

accessible to the patients who need them, thereby improving health outcomes, saving

lives, and protecting the financial health of individuals and families. Amici believe

that the Inflation Reduction Act’s drug price negotiation program is an important

step towards reining in the high cost of prescription drugs for patients enrolled in

Medicare, and they are concerned that Merck’s arguments, if accepted by this Court,

would result in substantial harm to the health and finances of seniors and other

Medicare patients.

                                INTRODUCTION

      For many years, seniors have struggled to pay the high cost of prescription

medications. High prescription drug prices force many seniors to cut back on other

expenses—including necessities such as mortgages and groceries—to pay for the

drugs they need. Others have had to forgo medications that they cannot afford,

risking adverse health effects and premature death.

      Enacted in August 2022, the Inflation Reduction Act (IRA) contains several

reforms designed to lower the high cost of prescription drugs and make them more

accessible to patients, including seniors enrolled in Medicare. See Pub. L. No. 117-

169, §§ 11001–11003, 136 Stat. 1818, 1833–1861 (codified at 42 U.S.C. §§ 1320f et

                                         1
       Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 9 of 31




seq. and 26 U.S.C. § 5000D). One such reform is the IRA’s drug price negotiation

program, which provides a pathway to lower the prices for a particular set of high-

cost drugs—so-called single-source drugs, for which no generic equivalent is currently

on the market. The program relies on a process in which the Department of Health

and Human Services (HHS), which is responsible for implementing Medicare, and

the manufacturer of selected drugs negotiate the prices at which drugs will be made

available to Medicare providers and drug plans.

      Seeking to protect its ability to profit off of Medicare by maintaining

exceedingly high prices for its single-source drugs, Merck has challenged the IRA

program under Takings Clause and First Amendment theories. Merck’s Takings

Clause claim is based on the notion that the IRA allows Medicare to buy prescription

drugs without paying their “fair” value and for “a fraction of their worth.” Merck

Mem. 2. Although Merck declines to offer a clear statement about fair value, it

suggests that a drug’s “market” price and “fair” value are whatever price Merck would

otherwise charge Medicare; anything below that amount, Merck suggests, results in

an unconstitutional taking. Merck’s theory, however, is built on a faulty premise: that

the price a monopolist charges for its product is necessarily the “fair market” price.

That premise is wrong. And absent any showing that the drug prices negotiated

under the IRA program necessarily fall short of the drug’s fair market value, Merck’s

Takings Clause challenge must be rejected. 1


      1 Although this memorandum addresses only the Takings Clause claim, amici

believe that Merck’s First Amendment theory is also devoid of merit, as the
government explains in its opposition.

                                          2
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 10 of 31




                                    ARGUMENT

I.    The high cost of prescription drugs harms patients’ health and quality
      of life.

      “Medicare is the single largest purchaser of prescription drugs in the [United

States], and those drugs account for more than 1 in 4 health care dollars spent by

Medicare.” Benjamin N. Rome et al., Simulated Medicare Drug Price Negotiation

Under the Inflation Reduction Act of 2022, JAMA Health Forum, at 2 (2023).2

      Medicare provides drug coverage to seniors (outside of the inpatient hospital

context) through two programs: Part B and Part D. Part B compensates medical

providers for drugs administered by health care professionals in medical facilities and

doctor’s offices. Ctrs. for Medicare and Medicaid Servs. (CMS), No. 11315-P, Drug

coverage under different parts of Medicare 1 (2023).3 HHS does not currently

negotiate the prices for drugs covered under Part B. Instead, Medicare reimburses

providers based on a statutory formula that typically results in payment of the

average sales price plus 6 percent. See 42 U.S.C. §§ 1395w-3a(b), (c).

      Part D was enacted in 2003 to address seniors’ access to outpatient prescription

drugs not covered by Part B. Medicare Prescription Drug, Improvement, and

Modernization Act of 2003, Pub. L. No. 108-173, § 101, 117 Stat. 2066, 2071 (codified

as amended at 42 U.S.C. § 1395w101 et seq.). Under the Part D program, Medicare

contracts with private plan sponsors to provide a prescription drug benefit. Prior to




      2 https://jamanetwork.com/journals/jama-health-forum/fullarticle/2800864.

      3  https://www.cms.gov/outreach-and-education/outreach/partnerships/downl
oads/11315-p.pdf.

                                          3
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 11 of 31




the enactment of the IRA, Part D has relied on direct negotiations between drug

manufacturers and Part D plans to set drug prices; HHS was barred from

participating in those negotiations. See 42 U.S.C. § 1395w-111(i) (providing that the

HHS Secretary “may not interfere with the negotiations between drug manufacturers

and pharmacies and [prescription drug plan] sponsors,” and “may not require a

particular formulary” or “institute a price structure for the reimbursement of covered

part D drugs,” except as otherwise provided in certain statutory provisions).

      Despite the coverage benefits offered under Medicare Parts B and D, Medicare

beneficiaries continue to face extremely high drug prices that make access difficult

for many consumers, harming their finances, their health, and their ability to enjoy

life. Of those adults taking prescription drugs, nearly one in four (24 percent) report

difficulty in affording their prescription drugs, and nearly three in ten (29 percent)

report not taking their medicines as prescribed because of cost. Ashley Kirzinger et

al., KFF Health Tracking Poll – February 2019: Prescription Drugs, Kaiser Family

Found. (March 1, 2019).4 Nearly one in ten adults (8 percent) say that their health

condition worsened due to not taking their prescription medication as recommended.

Id.

      High drug prices impact seniors in particular. As of 2019, “[n]early nine in ten

(89%) adults 65 and older report[ed] they are currently taking any prescription

medicine,” and “a majority of older adults [had] prescription drug coverage through




      4 https://www.kff.org/health-reform/poll-finding/kff-health-tracking-poll-febru
ary-2019-prescription-drugs/.

                                          4
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 12 of 31




Medicare Part D.” Ashley Kirzinger et al., Data Note: Prescription Drugs and Older

Adults, Kaiser Family Found. (Aug. 9, 2019).5 But despite the benefits provided by

Part D and other reforms, in 2019, nearly one in four (23 percent) of seniors continued

to find it “difficult to afford their prescription drugs.” Id. (emphasis removed).6 Much

of that difficulty is attributed to high levels of price increases in the preceding years.

Prescription drug prices rose “faster than prices for overall U.S. goods and services in

most years from 2000 to 2020,” mainly due to price increases for existing brand-name

drugs and adoption of expensive new brand-name drugs. Cong. Research Serv.,

R44832, Frequently Asked Questions About Prescription Drug Pricing and Policy 8–9

(2021).7 Accordingly, while prior reforms had stabilized consumers’ out-of-pocket

spending on prescription drugs generally, by the end of the last decade, “the number

of consumers with high out-of-pocket costs—such as those with serious conditions or

those prescribed specialty drugs—ha[d] increased.” Id. at 13. According to one study,

“Part D enrollees paid $16.1 billion out of pocket in 2019, up 27% over the previous

five years.” Id. at 13 n.43.




       5 https://www.kff.org/health-reform/issue-brief/data-note-prescription-drugs-

and-older-adults/.
       6  See also Anthony W. Olson et al., Financial hardship from purchasing
prescription drugs among older adults in the United States before, during, and after
the Medicare Part D “Donut Hole”: Findings from 1998, 2001, 2015, and 2021, 28 J.
Managed Care & Specialty Pharm. 508, 509 (May 2022), https://www.jmcp.org/
doi/full/10.18553/jmcp.2022.28.5.508 (“Financial hardship from purchasing
prescription drugs is still experienced by many older adults after the full
implementation of the [2003 law] and [the Affordable Care Act].”).
       7 https://crsreports.congress.gov/product/pdf/R/R44832/7.


                                            5
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 13 of 31




      These high costs deter seniors from taking the medication they need to

maintain or improve their health. According to a 2023 study, “[a]bout 1 in 5 adults

ages 65 and up either skipped, delayed, took less medication than was prescribed, or

took someone else’s medication last year because of concerns about cost.” Berkeley

Lovelace, Jr., 1 in 5 older adults skipped or delayed medications last year because of

cost, NBC News (May 18, 2023)8 (discussing Stacie B. Dusetzina et al., Cost-Related

Medication Nonadherence and Desire for Medication Cost Information Among Adults

Aged 65 Years and Older in the US in 2022, JAMA Network (May 18, 2023)).9 A 2022

HHS report similarly found: “More than 5 million Medicare beneficiaries struggle to

afford prescription medications. Among adults 65 and older, Black and Latino

beneficiaries are most likely to experience affordability problems. Medicare

beneficiaries with lower incomes and those under age 65 also had above-average rates

of not taking needed medications due to cost.” Wafa Tarazi et al., HHS, Prescription

Drug Affordability among Medicare Beneficiaries 1 (Jan. 2022).10 And a 2020 report

estimated that, by 2031, “112,000 seniors each year could die prematurely because

drug prices and associated cost-sharing are so high that they cannot afford their

medication.” Council for Informed Drug Spending Analysis, High Drug Prices and

Patient Costs: Millions of Lives and Billions of Dollars Lost (Nov. 18, 2020).11 This


      8 https://www.nbcnews.com/health/health-news/1-5-older-adults-skipped-

delayed-medications-last-year-cost-rcna84750.
      9 https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2805012.

      10 https://aspe.hhs.gov/sites/default/files/documents/1e2879846aa54939c56efe

ec9c6f96f0/prescription-drug-affordability.pdf.
      11 https://www.cidsa.org/publications/xcenda-summary.


                                          6
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 14 of 31




does not have to happen—and does not in other countries: “Seniors in the U.S. have

the highest rate among 11 high-income countries (Australia, Canada, France,

Germany, the Netherlands, New Zealand, Norway, Sweden, Switzerland, the United

Kingdom, and the United States) of not taking prescription drugs because of cost.”

Christine Ramsay & Reginald D. Williams II, Medicare Patients Pay More for Drugs

Than Older Adults in Other Countries; Congress Has an Opportunity to Move

Forward, The Commonwealth Fund (Sept. 30, 2021).12

       Beyond the health costs, high drug prices impose financial costs on seniors,

who are often retired and living on fixed incomes, and who often struggle to pay for

prescription drugs. See, e.g., Matt Sedensky & Carla K. Johnson, Deal on Capitol Hill

could ease seniors’ health costs, Associated Press, July 28, 2022.13 And paying for

drugs often requires sacrificing other essential needs. A 2022 survey of 2000 seniors,

for instance, found that “35 percent have cut down on costs in other aspects of their

life in order to have enough money to afford their healthcare needs,” and about 20

percent have “cut down on paying for necessities like the rent or mortgage

payments … and groceries … in order to pay for medical costs.” Chris Melore,

Healthcare hell: 1 in 5 seniors skip paying rent, buying groceries to afford their cocktail

of prescription meds, StudyFinds (Nov. 15, 2022).14 The high prices have a




       12 https://www.commonwealthfund.org/blog/2021/medicare-patients-pay-

more-drugs-older-adults-other-countries-congress-has-opportunity.
       13 https://apnews.com/article/health-seniors-medicare-prescription-drug-costs-

drugs-8aaa8fd3959c1da5fba5b5a352b6afb0.
       14 https://studyfinds.org/healthcare-hell-seniors-prescription-medication/.


                                            7
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 15 of 31




particularly damaging impact on the many seniors of limited means who must

“decid[e] whether they will buy groceries or pay for a prescription.” Andrea Baer, Why

are seniors struggling to afford their medications?, Pan Foundation (July 2, 2019).15

II.   Prices negotiated under the IRA Program do not result in an
      unconstitutional taking.

      To address the high cost of prescription drugs, and the concomitant high cost

in terms of health and quality of life, Congress created a pathway to lower the prices

of a particular set of high-cost drugs—so-called single-source drugs. The program

relies on a negotiation between HHS and drug manufacturers to determine the prices

at which drugs will be made available to Medicare providers and drug plans.

      Merck’s Takings Clause claim rests on the flawed premise that “the whole

point of the [IRA] Program is to take prescription drugs without paying their fair

value.” Merck Mem. 2 (emphasis removed); id. (stating that the IRA “force[s]

manufacturers to “transfer their products … for a fraction of their worth”). This

premise is doubly flawed. To start, the IRA program does not mandate that Merck

give drugs to Medicare; it mandates a negotiation of the price of designated drugs,

which the manufacturer may choose to forgo by not participating in Medicare and

Medicaid. That the government is leveraging its buying power does not transform a

negotiation into a taking. Indeed, the government often negotiates significant




      15 https://www.panfoundation.org/why-are-seniors-struggling-to-afford-their-

medications/.

                                          8
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 16 of 31




purchases,16 and drug companies negotiate prices with other government entities,

both in the United States and abroad.

      Further, although Merck does not state the “fair value” of Januvia or explain

how “fair value” should be calculated, it implies that the price that a drug company

charges buyers in the Medicare program (absent negotiation) is the drug’s “fair

value,” see Merck Mem. 2, 11, and that the drug’s “fair value” is its “fair market

value,” see id. at 18. That implication is wrong. “Fair market value” is the price

determined by a willing buyer and a willing seller. In a monopoly system where a

seller has an exclusive product, however, the sales price—absent negotiation— is not

set by the “fair market value,” but by the seller’s effort to maximize profit. Indeed,

Merck charges different amounts to different buyers and in different countries.

Because Merck’s Takings Clause claim fails to appreciate the dynamics that inform

pricing in the market for brand-name prescription drugs, Merck’s assertion that the

price negotiated under the IRA program results in an unconstitutional taking fails.

      A. Drug companies set prices for brand-name prescription drugs
         under monopolistic conditions.

      The products at issue under the IRA program are brand-name prescription

drugs currently on the market without generic alternatives. Because of the power

afforded by the market exclusivity of these products, combined with the pre-IRA bar

on Medicare negotiating prices, the manufacturers of those drugs have, to date, been

able to set prices for Medicare with minimal constraints. Drug manufacturers price



      16 See, e.g., 48 C.F.R. § 15.405 (price negotiation for contracts under the Federal

Acquisition Regulation).

                                           9
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 17 of 31




drugs “to maximize company profits.” HHS, Prescription Drugs: Innovation,

Spending, and Patient Access 27 (2016).17 And “[o]nce a drug is approved, the brand-

name manufacturer sets its initial price in the United States at what the

manufacturer estimates that the market will bear.” Aaron S. Kesselheim et. al.,

Pharmaceutical Policy in the United States in 2019: An Overview of the Landscape

and Avenues for Improvement, 30 Stan. L. & Pol’y Rev. 421, 453 (2019).

      1. Two forms of market exclusivity—a period of time when a brand-name drug

is protected from generic drug competition—apply to brand-name prescription drugs:

First, a company that has a patent on its drug generally has the exclusive right to

make or sell the drug for 20 years after the filing date of the patent application. See

35 U.S.C. § 154(a).18 A patent is awarded by the U.S. Patent and Trademark Office,

see 35 U.S.C. §§ 101–103, and can be sought by a company at any time during the

development of a drug, FDA, Frequently Asked Questions on Patents and




      17 https://aspe.hhs.gov/sites/default/files/migrated_legacy_files//192456/Drug
PricingRTC2016.pdf.
      18 In addition, drug companies sometimes use “patenting practices” that extend

the exclusivity period. Cong. Research Serv., R46679, Drug Prices: The Role of Patents
and Regulatory Exclusivities 5 (2021), https://crsreports.congress.gov/product/
pdf/R/R46679. These practices include: (1) “evergreening,” which refers to the practice
of “obtain[ing] new patents to cover a product as older patents expire to extend the
period of exclusivity without significant benefits for consumers”; (2) “attempting to
switch or ‘hop’ the market to a slightly different product covered by a later-expiring
patent when the patent covering a current product is close to expiration”; (3)
“acquir[ing] many overlapping patents on a single product, creating so-called ‘patent
thickets’”; and (4) “‘pay-for-delay’ or ‘reverse payment’ settlements, where companies
‘settle litigation that results when a generic seeks to compete with a patented
branded product’ by ‘transfer[ing] value from the brand to the generic in return for
the generic delaying its market entry.’” Id. at 5–6 (citations omitted).

                                          10
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 18 of 31




Exclusivity.19 Second, after a drug company receives FDA approval of a new drug

application, allowing a company to market the product for specified uses, the

company is entitled by statute to an exclusivity period. See id. The exclusivity period

depends on the type of drug and other factors. For example, the exclusivity period for

a drug that contains a new chemical active ingredient is generally 5 years, 21

U.S.C. § 355(c)(3)(E)(ii), and the exclusivity period for new biologics is 12 years, 42

U.S.C. § 262(k)(7)(A). As the FDA has explained, “[s]ome drugs have both patent and

exclusivity protection while others have just one or neither. Patents and exclusivity

may or may not run concurrently and may or may not cover the same aspects of the

drug product.” FDA, Frequently Asked Questions, supra.

      2. During a drug’s exclusivity period, drug companies have a monopoly with

respect to the drug. For that reason, Merck is wrong to suggest that the price that it

would charge buyers absent price negotiations is the drug’s “fair market value.”

      “Fair market value” is “a price as would be fixed by negotiation and mutual

agreement, after ample time to find a purchaser, as between a vendor who is willing

(but not compelled) to sell and a purchaser who desires to buy but is not compelled to

take the particular ... piece of property.” BFP v. Resol. Tr. Corp., 511 U.S. 531, 538

(1994) (citation omitted); see also Value, Black’s Law Dictionary (11th ed. 2019)

(defining “fair market value” as “the price that a seller is willing to accept and a buyer

is willing to pay on the open market and in an arm’s-length transaction; the point at




      19https://www.fda.gov/drugs/development-approval-process-drugs/frequently-
asked-questions-patents-and-exclusivity.

                                           11
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 19 of 31




which supply and demand intersect”). In a monopoly system, however, “the practical

suppression of effective business competition … creates a power to control prices to

the public harm.” Monopoly, Black’s Law Dictionary (11th ed. 2019) (quoting 54A Am.

Jur. 2d Monopolies, Restraints of Trade, and Unfair Trade Practices § 781 (1996)).

Because “fair market value” presumes market conditions involving “negotiation and

mutual agreement,” BFP, 511 U.S. at 537, the price charged by a monopolistic seller

absent any negotiation is not the measure of fair market value.

      For pharmaceuticals, the pricing power afforded by monopoly is far greater

than for other tangible products, for at least three reasons. First, the “pharmaceutical

industry is … a high-fixed low-cost marginal cost industry,” where the manufacturing

(marginal) cost of drugs is slight relative to the fixed cost. Richard G. Frank & Paul

B. Ginsburg, Pharmaceutical Industry Profits and Research and Development, Health

Affairs Blog (Nov. 13, 2017) (explaining that “the cost of producing an extra unit of a

product that is on the market is frequently pennies a pill”).20 Second, for drugs, the

demand side is different than for other products. “[T]reatments for serious disease

are not luxury items, but are needed by vulnerable patients who seek to improve the

quality of life or to prolong life.” S. Vincent Rajkumar, The high cost of prescription

drugs: causes and solutions, 10 Blood Cancer Journal, no. 71, 2020, at 1.21 That these

medicines are necessary to people’s health and well-being means that some “patients

and their families are willing to pay any price in order to save or prolong life.” Id. at


      20   https://www.healthaffairs.org/content/forefront/pharmaceutical-industry-
profits-and-research-and-development.
      21 https://www.nature.com/articles/s41408-020-0338-x.


                                           12
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 20 of 31




2. Third, the drug companies’ pricing power during the exclusivity period is amplified

by laws requiring coverage of many prescription drugs. For example, Medicare Part

D plans are generally required to cover “at least two Part D drugs that are not

therapeutically equivalent and bioequivalent” within each therapeutic category and

class of Part D drugs. 42 C.F.R. § 423.120(b)(2)(i); see also 42 U.S.C. § 1395w-

104(b)(3)(G). In addition, Part D plans are required to cover all FDA-approved

“[a]nticonvulsants,”   “[a]ntidepressants,”    “[a]ntineoplastics”   (cancer-treatment

drugs),   “[a]ntipsychotics,”   “[a]ntiretrovirals”   (HIV-treatment    drugs),      and

“[i]mmunosuppressants for the treatment of transplant rejection.” 42 U.S.C. § 1395w-

104(b)(3)(G)(iv)(I)–(V). Although the federal government does not mandate

prescription drug coverage by state Medicaid programs, state Medicaid programs

receiving federal rebates for prescription drugs are required to cover all FDA-

approved drugs, subject to certain exceptions. See Rachel E. Sachs, Delinking

Reimbursement, 102 Minn. L. Rev. 2307, 2316–17 (2018) (discussing public payer

coverage requirements for prescription drugs); see also 42 U.S.C. § 1396r-8(k)(2).

      For these reasons, drug companies during the exclusivity period can impose

prices that are orders of magnitude higher than the marginal cost of producing the

drug. Indeed, the pre-IRA Medicare Part D purchasing scheme, which barred

negotiations by HHS, illustrates these unrestrained monopoly price-setting

dynamics.   Although other countries have similar patent laws and regulatory

exclusivity periods comparable to those in the United States—for example, the




                                          13
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 21 of 31




exclusivity period in the European Union can run up to 11 years22—the U.S. “practice

is distinct from that of other high-income countries, which to differing degrees have

government-affiliated organizations that negotiate a price based on evaluation of the

drug’s clinical and cost-effectiveness,” resulting in “most brand-name drugs cost[ing]

far more in the United States than in other comparable settings around the world.”

Kesselheim et al., Pharmaceutical Policy, supra, at 453.

      To be sure, enabling drug companies to charge above marginal-cost prices is

the reason for an exclusivity period—so that the companies can recoup the

substantial costs of research and development, including the cost of clinical trials and

other costs incurred to bring a drug to market. See Cong. Research Serv., Drug Prices,

supra; see also Frank & Ginsburg, Pharmaceutical Industry Profits, supra; Aaron S.

Kesselheim et al., The High Cost of Prescription Drugs in the United States: Origins

and Prospects for Reform, 316 JAMA, no. 8, 2016, at 863.23 The purpose, however, of

the government-conferred monopoly does not justify the exorbitant prices that

companies charge Medicare and Medicare enrollees and that Congress sought to rein

in through the IRA program. In any event, the IRA price-negotiation program applies

only to drugs that have generated the highest level of revenue—far exceeding any

plausible estimate of the cost of research and development—and only after those



      22 Lisa Diependaele et al., Raising the Barriers to Access to Medicines in the

Developing World – The Relentless Push for Data Exclusivity, 17 Developing World
Bioethics, no. 1, 2017, at 13, https://www.ncbi.nlm.nih.gov/pmc/articles/
PMC5347964/pdf/DEWB-17-11.pdf (discussing the European Union’s data
exclusivity period).
      23 https://jamanetwork.com/journals/jama/article-abstract/2545691.


                                          14
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 22 of 31




drugs have had lengthy periods of exclusivity: For a drug to qualify for selection to

participate in the IRA program, at least 7 years must have elapsed since FDA

approval of the drug, and for a biologic to qualify, at least 11 years must have elapsed

since FDA licensure of the biologic. See 42 U.S.C. § 1320f-1 (“Selection of negotiation-

eligible drugs as selected drugs”); see also CMS, Medicare Drug Price Negotiation

Program: Revised Guidance, Implementation of Sections 1191 – 1198 of the Social

Security Act for Initial Price Applicability Year 2026, at 98–99 (2023).24

      B. A company’s preferred price of a brand-name prescription drug is
         not necessarily a “fair” price.

      Without guardrails like price negotiation, the monopoly power exercised by

drug companies enables exorbitant pricing that does not reflect the cost of research

and development. Indeed, pharmaceutical companies spend on average only

approximately one-quarter of their revenues (net of expenses and rebates) on

research and development. Cong. Budget Office, Research and Development in the

Pharmaceutical Industry (2021).25 As HHS has explained, although “[d]rug

manufacturers often point to high drug development costs as a justification for high

drug prices[,] … [i]n reality, the prices charged for drugs are unrelated to their

development costs.” HHS, Prescription Drugs, supra, at 27; Kesselheim et al., The

High Cost of Prescription Drugs, supra, at 863 (stating “there is little evidence of an

association between research and development costs and drug prices”). Instead,



      24 https://www.cms.gov/files/document/revised-medicare-drug-price-negotiati
on-program-guidance-june-2023.pdf.
      25 https://www.cbo.gov/publication/57126.


                                          15
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 23 of 31




companies price drugs during the exclusivity period at the highest amounts they

believe the market will bear, see Kesselheim et al., The High Cost of Prescription

Drugs, supra, at 863, resulting in prices that cannot be called either “fair market

value” or “fair” to patients.

       Drug-company spending confirms that the prices charged to Medicare cannot

be justified by pointing to companies’ research and development costs. For example,

“counter[ing] the claim that the higher prices paid by US patients and taxpayers are

necessary to fund research and development,” “the premiums pharmaceutical

companies earn from charging substantially higher prices for their medications in the

US compared to other Western countries generates substantially more than the

companies spend globally on their research and development.” Nancy L. Yu et al.,

R&D Costs for Pharmaceutical Companies Do Not Explain Elevated US Drug Prices,

Health Affairs Blog (Mar. 7, 2017) (emphasis added). 26

       Notably, although manufacturers commonly increase the price for a particular

drug annually, the increases do not reflect improvements in the drug’s net health

benefit or new costs incurred by the manufacturer for that drug. According to a study

of 2021 drug prices, “[o]f the 10 drugs assessed due to net price increases, seven were

judged to have price increases unsupported by new clinical evidence.” Inst. for

Clinical and Econ. Review, Unsupported Price Increase Report: Unsupported Price




       26 https://www.healthaffairs.org/content/forefront/r-d-costs-pharmaceutical-
companies-do-not-explain-elevated-us-drug-prices.

                                          16
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 24 of 31




Increases Occurring in 2021, at ES2 (2022).27 These “unsupported net price increases

of these seven drugs produced a total of $805 million incremental added costs to US

payers in 2021.” Id.

      Inflation costs also do not justify the annual increases in drug prices, which

have risen at a rate vastly exceeding the inflation rate. For example, a study

conducted by researchers at the University of Pittsburgh found that from 2007 to

2018, list prices for brand-name drugs, adjusted to account for inflation, increased by

159 percent, or 9.1 percent per year, and that “net prices increased every year by an

average of 4.5 percentage points, or 3.5 times faster than inflation.” Inmaculada

Hernandez et al., Changes in List Prices, Net Prices, and Discounts for Branded Drugs

in the US, 2007-2018, 323 JAMA, no. 9, 2020, at 854.28 Another study found that

“from 2008 to 2021, launch prices for new drugs increased exponentially by 20% per

year” and that “prices increased by 11% per year even after adjusting for estimated

manufacturer discounts and changes in certain drug characteristics.” Benjamin N.

Rome et al., Trends in Prescription Drug Launch Prices, 2008–2021, 327 JAMA, no.

21, 2022, at 2145.29 During those same years, the annual inflation rate did not exceed

5 percent; and for all but two of those years, the annual inflation rate was below 3




      27      https://icer.org/wp-content/uploads/2022/04/UPI_2022_National_Report_
120622.pdf.
      28 https://jamanetwork.com/journals/jama/article-abstract/2762310.

      29 https://jamanetwork.com/journals/jama/fullarticle/2792986.


                                          17
       Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 25 of 31




percent. See Bureau of Labor Statistics, CPI for All Urban Consumers (CPI-U), 12-

Month Percentage Change.30

       C. Outside of Medicare, drug companies negotiate prices and charge
          different prices to different buyers.

       That a brand-name manufacturer’s preferred Medicare price is not properly

deemed the “fair” or “market” price of the drug is further confirmed by the fact that

manufacturers do not generally set a uniform price for the “market”; they negotiate

different prices with different buyers. In this regard, the Medicare program, lacking

the ability to negotiate, has been an outlier, and the prices charged to Medicare have

not been reflective of fair market value. The IRA program, by requiring negotiation,

will bring prices more in line with those paid by other large-scale buyers. For

example, for drugs with no therapeutic alternatives or where the price of the

alternative is above the statutory ceiling under the IRA program, CMS will use “the

maximum price a drug manufacturer is allowed to charge the ‘Big Four’ federal

agencies, which are the Department of Veterans Affairs (VA), Department of Defense

(DoD), the Public Health Service, and the Coast Guard” as its starting point to

determine its initial offer for the price negotiation. CMS, Revised Guidance, supra, at

147.

       Other government agencies and programs responsible for purchasing and

reimbursing the cost of prescription drugs do not simply accept prices dictated by the

manufacturer. For example, the Department of Veteran Affairs (VA), unlike Medicare



       30 https://www.bls.gov/data/ (database statistics for the consumer price index

from 2008 to 2021).

                                          18
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 26 of 31




and Medicaid, determines which drugs it will cover and can negotiate prices with

manufacturers. See Gov’t Accountability Office (GAO), GAO-21-111, Prescription

Drugs: Department of Veteran Affairs Paid About Half as Much as Medicare Part D

for Selected Drugs in 2017 (2020)31; see also Health Affairs, Prescription Drug Pricing:

Veterans Health Administration 2 (2017).32 Because of this, prices paid by the VA are

substantially lower than those paid under Medicare Part D for the same drug. For

example, the VA “paid, on average, 54 percent less per unit for a sample of 399 brand-

name and generic prescription drugs in 2017 as did Medicare Part D, even after

accounting for applicable rebates and price concessions in the Part D program.” GAO,

Prescription Drugs, supra.33 The GAO also reported that “233 of the 399 drugs in the

sample were at least 50 percent cheaper in VA than in Medicare, and 106 drugs were

at least 75 percent cheaper.” Id. The VA achieves these lower prices through a

combination of statutory fixed discounts (including the Federal Ceiling Price, which,

like the IRA Program, is based on percentages of the non-federal average




      31 https://www.gao.gov/assets/gao-21-111.pdf.

      32   https://www.healthaffairs.org/do/10.1377/hpb20171008.000174/full/health
policybrief_174-1525355141023.pdf
      33 https://www.gao.gov/assets/gao-21-111.pdf.


                                          19
        Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 27 of 31




manufacturer price, see 38 U.S.C. § 8126(b)) and bulk negotiating power. Id. at 9–

10.34

        Likewise, manufacturers do not set prices under the Medicaid Drug Rebate

Program (MDRP), which requires prescription drug manufacturers to provide a

discount of at least 23.1 percent of the average manufacturer price, or a greater

discount to match the best price available to the manufacturer’s most favored

commercial customer, subject to certain exceptions. See 42 U.S.C. § 1396r-8(c)(1). If

price increases outpace inflation, the statute requires an additional rebate.

Id. § 1396r–8(c)(2). In addition to statutory discounts, state Medicaid programs

negotiate supplementary rebates, sometimes through purchasing pools where states

join together for greater negotiating leverage. See Kathleen Gifford et al., Kaiser

Family Found., How State Medicaid Programs are Managing Prescription Drug

Costs: Results from a State Medicaid Pharmacy Survey for State Fiscal Years 2019




        34Moreover, within Medicare, fee-for-services prices paid to hospitals and
physicians are set by statute and regulations—not by the provider—and are generally
updated annually by regulation. See Cong. Research Serv., R46797, Finding Medicare
Fee-For-Service (FFS) Payment System Rules: Schedules and Resources (2023),
https://crsreports.congress.gov/product/pdf/R/R46797 (collecting statutory and
regulatory requirements for different fee-for-service payment systems); see also CMS,
Medicare Fee-for-Service Payment Regulations, https://www.cms.gov/Regulations-
and-Guidance/Regulations-and-Policies/Medicare-Fee-for-Service-Payment-
Regulations (collecting all Fee-for-Service payment regulations by provider type).
CMS determines rates for physician reimbursement under Medicare Part B according
to “the Resource Based Relative Value Scale,” which “weight[s] services according to
the resources used in delivering the service”: the physician work required to provide
the service, the expenses related to the practice, and malpractice insurance expenses.
HHS, No. 04-008, Determinants of Increases in Medicare Expenditures for Physicians’
Services      79      (2003),     https://www.ncbi.nlm.nih.gov/books/NBK43879/pdf/
Bookshelf_NBK43879.pdf.

                                         20
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 28 of 31




and 2020 (April 29, 2020)35; see also Sachs, supra, at 2317 (stating that “states are

empowered to seek additional rebates on top of” the ones required by statute). For

top-selling drugs, the statutory discounts and negotiations have resulted in average

net prices in Medicaid that are 35 percent of the average net price in Medicare Part

D. Cong. Budget Office, A Comparison of Brand-Name Drug Prices Among Selected

Federal Programs 18 (2021).36

      Moreover, manufacturers charge substantially lower prices to peer countries

than they charge for the same drugs in the United States. For example, a RAND

study found that U.S. prices for drugs in 2018 were 256 percent of those in

32 comparison countries combined. Andrew W. Mulachy et al., International

Prescription Drug Price Comparisons: Current Empirical Estimates and Comparisons

with Previous Studies, RAND Research Report 36 (2021).37 For brand-name drugs,

U.S. prices were even higher than those in comparison countries, with U.S. prices at

344 percent of those in comparison countries. Id. Other studies similarly have found

that U.S. prices for brand-name drugs “were more than two to four times higher” than

prices in other peer countries. GAO, GAO-21-282, Prescription Drugs: U.S. Prices for



      35 https://www.kff.org/report-section/how-state-medicaid-programs-are-manag

ing-prescription-drug-costs-payment-supplemental-rebates-and-rebate-
management/.
      36 https://www.cbo.gov/system/files/2021-02/56978-Drug-Prices.pdf.

      37   https://www.rand.org/pubs/research_reports/RR2956.html.    The   32
comparison countries are Australia, Austria, Belgium, Canada, Chile, Czech
Republic, Estonia, Finland, France, Germany, Greece, Hungary, Ireland, Italy,
Japan, Latvia, Lithuania, Luxembourg, Mexico, Netherlands, New Zealand, Norway,
Poland, Portugal, Slovakia, Slovenia, South Korea, Spain, Sweden, Switzerland,
Turkey, and the United Kingdom. Id. at 17.

                                         21
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 29 of 31




Selected Brand Drugs Were Higher on Average than Prices in Australia, Canada, and

France (2021) (comparing 2020 drug prices in the U.S. against those in Australia,

Canada, and France)38; see also H.R. Comm. on Ways & Means, A Painful Pill to

Swallow: U.S. vs. International Prescription Drug Prices 4 (2019) [hereafter, Painful

Pill] (comparing 2017 and 2018 drug prices in the U.S. against those in 11 other

countries and finding that “U.S. drug prices were nearly four times higher than

average prices compared to similar countries”).39 A House report analyzing 2017 and

2018 prices found that “[t]he greatest disparity was with Japan, where the average

drug price was only 15 percent that of the U.S., meaning that the U.S. on average

spends seven times what Japan pays for the same drugs.” Painful Pill, supra, at 4.

      Humira, the “best-selling prescription drug in the world,” is illustrative. Id. at

18. “Humira is over 500 percent more expensive in the U.S.” compared to 11 other

peer countries: In 2018, the average price of Humira in the United States was

$2,346.02 per dose. Id. The next highest price was in Denmark, where the same drug

cost $787.10, and the combined mean price in the 11 other countries was $450.60. Id.

      The diabetes drug Januvia, which has been selected for inclusion in the IRA

price negotiation program,40 likewise has substantial price differences worldwide.

Merck’s list price in 2022 for an annual supply of Januvia was $6,346. Protect Our



      38 https://www.gao.gov/assets/gao-21-282.pdf.

      39 These 11 countries are the United Kingdom, Japan, Ontario, Australia,
Portugal, France, the Netherlands, Germany, Denmark, Sweden, and Switzerland.
      40 HHS, HHS Selects the First Drugs for Medicare Drug Price Negotiation (Aug.

29, 2023), https://www.hhs.gov/about/news/2023/08/29/hhs-selects-the-first-drugs-
for-medicare-drug-price-negotiation.html.

                                          22
      Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 30 of 31




Care, Why Medicare Needs the Power to Negotiate for Lower Drug Costs: Outrageous

Prices, Greed, and Patent Exploitation 11 (June 2023).41 In other countries, the list

price was far lower: 87% less in Australia, 82% less in Canada, and 66% less in

France. Id. In short, exercising the power afforded by market exclusivity, Merck

“priced [Januvia] in the United States at 1,120 percent [of] … the average

international price.” A Painful Pill, supra, at 20.

                                        * * *

      Merck does not contest that it wants to sell brand-name drugs, including

Januvia, to Medicare participants and beneficiaries. It does not contest that it will be

paid for purchases of the drug. Instead, Merck argues that Medicare will pay less

than the average amount that Merck prefers to charge in the United States—

although not necessarily less than the amount that it charges other buyers in the

United States or internationally. But Merck is wrong that its desire to impose a high

monopolistic price on Medicare, the world’s largest drug purchaser, without

negotiations, means that purchase below that price necessarily constitutes an

unconstitutional taking. Because Merck’s Takings Clause claim does not account for

the pricing dynamics in the market for brand-name prescription drugs, Merck’s facial

challenge under the Takings Clause must be rejected.




      41 https://www.protectourcare.org/wp-content/uploads/2023/06/Why-Medicare-

Needs-the-Power-to-Negotiate-for-Lower-Drug-Costs.pdf.

                                           23
     Case 1:23-cv-01615-CKK Document 26-1 Filed 09/13/23 Page 31 of 31




                               CONCLUSION

      Merck’s motion for summary judgment should be denied, and Defendants’

cross-motion for summary judgment should be granted.

September 13, 2023                         Respectfully submitted,
                                           /s/ Wendy Liu
                                           Wendy Liu
                                           Nandan M. Joshi
                                           Allison M. Zieve
                                           Public Citizen Litigation Group
                                           1600 20th Street NW
                                           Washington, DC 20009
                                           (202) 588-1000

                                           Attorneys for Amici Curiae
                                           Public Citizen, et al.




                                      24
